
LAGOA, C.J.
Affirmed. See Franklin v. State, 43 Fla. L. Weekly S556, 258 So.3d 1239, 2018 WL 5839174 (Fla. Nov. 8, 2018) (reaffirming Michel's determination that the "majority's analysis in Atwell improperly applied Graham and Miller" and holding that Franklin's three 1000-year concurrent sentences with parole, and presumptive parole release date of 2352, for non-homicide juvenile offenses "fulfills Graham's requirement that juveniles be given a 'meaningful opportunity' to be considered for release during their natural life based upon 'normal parole factors' " (quoting Virginia v. LeBlanc, --- U.S. ----, 137 S.Ct. 1726, 1729, 198 L.Ed.2d 186 (2017) ); State v. Michel, 257 So.3d 3 (Fla. 2018) (holding "that juvenile offenders' sentences of life with the possibility of parole after 25 years do not violate the Eighth Amendment of the United States Constitution as delineated by the United States Supreme Court in Graham v. Florida, 560 U.S. 48, 130 S.Ct. 2011, 176 L.Ed.2d 825 (2010), Miller v. Alabama, 567 U.S. 460, 132 S.Ct. 2455, 183 L.Ed.2d 407 (2012), and Virginia v. LeBlanc, --- U.S. ----, 137 S.Ct. 1726, 198 L.Ed.2d 186 (2017)").
